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                   EXHIBIT D
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1             IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF CALIFORNIA
2                  SAN FRANCISCO DIVISION
3                 CASE NO.: 3:17-cv-06124-RS
4
     STEPHAN NAMISNAK, et al.,
5
                  Plaintiffs,
6
     vs.
7
     UBER TECHNOLOGIES, INC.
8    and RASIER, LLC,
9              Defendants.
     ___________________________
10
11
                                   Tuesday, January 5, 2021
12                                 Videoconference
                                   2:04 p.m. EST - 3:43 p.m. EST
13
14
15         VIDEOCONFERENCE DEPOSITION OF FRANCIS FALLS
16
17
18          Taken via videoconference before Carol Ann
19   Kridos, Shorthand Reporter and Notary Public in
20   and for the State of Florida at Large, pursuant to
21   Notice of Taking Deposition filed in the above
22   cause.
23
24
25

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1
2                           CERTIFICATE OF OATH
3
4    STATE OF FLORIDA           )
5    COUNTY OF BROWARD )
6
7                  I, Carol Ann Kridos, Notary Public in
8    and for the State of Florida at Large, certify
9    that the witness, FRANCIS FALLS, personally
10   appeared before me via videoconference on
11   January 5, 2021, and was duly sworn by me.
12
13                 WITNESS my hand and official seal this
14   19th day of January, 2021.
15
16
17
18
                               <%3760,Signature%>
19                             __________________________
                               Carol Ann Kridos
20                             Notary Public - State of Florida
                               Commission No.:            GG974281
21                             My Commission Expires:                 4/24/24
22
23
24
25

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1               REPORTER'S DEPOSITION CERTIFICATE
2           I, Carol Ann Kridos, do hereby certify that I
3    was authorized to and did stenographically report
4    the deposition of FRANCIS FALLS; the witness
5    herein; that a review of the transcript was not
6    requested; that the foregoing pages numbered from
7    1 to 70, inclusive, is a true and correct
8    transcription of my shorthand notes of the
9    deposition by said witness.
10          I further certify that I am not a relative,
11   employee, attorney or counsel of any of the
12   parties, nor am I a relative or employee of any of
13   the parties' attorney or counsel connected with
14   the action, nor am I financially interested in the
15   action.
16          The foregoing certification of this
17   transcript does not apply to any reproduction of
18   the same by any means unless under the direct
19   control and/or direction of the certifying
20   reporter.
21          Dated this 19th day of January, 2021.
22
23
                         <%3760,Signature%>
24                      ________________________________
                        Carol Ann Kridos, Shorthand Reporter
25                      Notary Public - State of Florida

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